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                                         STATE OF NEW YORK
                                   OFFICE OF THE ATTORNEY GENERAL

  LETITIA JAMES                                                                     DIVISION OF STATE COUNSEL
  ATTORNEY GENERAL                                                                        LITIGATION BUREAU

BY ECF AND E-MAIL                                                                            February 12, 2021
The Honorable Denise L. Cote
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

RE:     Our Wicked Lady, LLC, et al. v. Cuomo, et al., No. 21-cv-165

Dear Judge Cote:

        This Office represents defendants Andrew M. Cuomo, in his official capacity as Governor
of the State of New York, and the State of New York (the “State Defendants”).

       We write jointly with plaintiffs and with co-defendants Bill de Blasio, in his official
capacity as Mayor of the City of New York, and the City of New York (the “City Defendants”,
and collectively with State Defendants and plaintiffs, the “Parties”) to request additional time to
submit the joint stipulation of undisputed facts directed by the Court’s Order of February 10, 2021
(ECF no. 19).

        The Parties are currently jointly working towards agreement on a stipulation of undisputed
facts. However, given the complexities posed by the presence of multiple sets of defendants (both
the State Defendants and the City Defendants), and the need to obtain client approval on multiple
proposed drafts, the Parties do not expect to have the stipulation finalized by the current deadline.

       As such, the Parties jointly request that the deadline to file the joint stipulation of
undisputed facts be extended from today, Friday, February 12, 2021 to Wednesday, February 17,
2021. The defendants’ oppositions to plaintiffs’ motion for a preliminary injunction would remain
due on Tuesday, February 23, 2021. Counsel for all Parties have conferred and join in this request.

        The Parties appreciate the Court’s attention to this matter.


                                                             Respectfully submitted,

                                                             /s/ Matthew L. Conrad
                                                             Matthew L. Conrad
                                                             Assistant Attorney General
                                                             28 Liberty Street


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cc:     Counsel of record
